

Matter of Walls v Rodriguez (2019 NY Slip Op 04599)





Matter of Walls v Rodriguez


2019 NY Slip Op 04599


Decided on June 7, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 7, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CARNI, DEJOSEPH, TROUTMAN, AND WINSLOW, JJ.


654 CAF 18-00827

[*1]IN THE MATTER OF ARTHUR D. WALLS, JR., PETITIONER-RESPONDENT,
vJOHANNA L. RODRIGUEZ, RESPONDENT-APPELLANT. (APPEAL NO. 2.) 






TIMOTHY R. LOVALLO, BUFFALO, FOR RESPONDENT-APPELLANT. 


	Appeal from an amended order of the Family Court, Erie County (Mary G. Carney, J.), entered April 6, 2018 in a proceeding pursuant to Family Court Act article 6. The amended order, among other things, granted the petition and designated petitioner as the primary residential parent with respect to the subject child. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Matter of Kolasz v Levitt , 63 AD2d 777, 779 [3d Dept 1978]).
Entered: June 7, 2019
Mark W. Bennett
Clerk of the Court








